Case 4:21-cv-01858 Document1 Filed on 06/08/21 in TXSD Page 1 of 8

Appendix A

United States Courts
Ssuthern District of Texas

| FILED
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS JUN 08 2021
DIVISION

’ . Cl ”
Dor (ON) L\ a \ @ Nathan Ochsner, Clerk of Court

 

versus

Walmac+ Stores ne.

crv action no. ZI a 1950

 

CO? (OP? (OP COR? “Or Gr Or

 

EMPLOYMENT DISCRIMINATION COMPLAINT
1. This action is brought under Title VII of the Civil Rights Act of 1964 for employment

discrimination. Jurisdiction is conferred by Title 42 United States Code, Section § 2000e-5.

 

 

 

 

 

 

2. The Plaintiffis: Dorian Hale
Address: ‘\0O\8 §s uaacPig \d_ ch:
OUAdc land tye. 1749°
County of Residence: Lert Bend
3. The defendant is: Scott Foreman Fer
Address: Walmart Stores ac

 

Clo Littler med elson. P. C

A301 Meee st, Suite £00 Kansascity Md,
O Check here if there are additional defendants. List them on a separate sheet of paper wit ‘ 4
41

 

their complete addresses.

4, The plaintiff has attached to this complaint a copy of the charges filed on [0 | o | la 6 | q

with the Equal Opportunity Commission.
5. On the date of 02 \\a \ Aoa\ , the plaintiff received a Notice of Right to Sue

letter issued by the Equal Employment Opportunity Commission; a copy is attached.
Case 4:21-cv-01858 Document.1 Filed on 06/08/21 in TXSD Page 2 of 8.

6. Because of the plaintiff's:
@ X race
0) O color
() QO sex
(4) QM . religion |
(=) Retalerti oa ond Aisali | vy
e defendant has:

(a) O failed to employ the plaintiff

(c)
(d)

(bo) terminated the plaintiff's employment
Oo failed to promote the plaintiff
OH

other: .

 

 

 

7. When and how the defendant has discriminated against the plaintiff: ‘
Race W\HOVT to Mayadid Sup. Cat ed me bog head nigga Stated whey

do notlikeerty nigdes Fr Chicago Niggas on Numer ous eccas tons -
Reeder ~ lo\Z0|17 -10 (1a store manaqer questi one dh my reli qyon -SUps called
Mr Roa headanvVorious Occasions. ; |
Oisalaility - Store manager s Uspended me WNT LE was te bri 7h ar. note
Stating pod adisalorlitut didn. | .
Rejalketicn- WES nok swenloneaks or lunches as per police: May NE - H hia \20
8. The plaintiff requests that the defendant be ordered: Wor Motul -Leryninoddon - Fived LO

months l\aker after repor*t rato Ethics
(2) O to stop discriminating against the plaintiff a ¢oncern-

(b)

 

O to employ the plaintiff
(c) O to re-employ the plaintiff
Oo

(d) : to promote the plaintiff
Case 4:21-cv-01858 Document1 Filed on 06/08/21 in TXSD Page 3 of 8

@ WW to The Court to award meé Lomoén sat ior)
Fog UPS OF Aisciminction and retaliction
Som _ Walmart stores cence. and that;

(f) Mi the Court grant other relief, including injunctions, damages, costs and

attorney’s fees. )

(Signature of Plaintiff) _ .

 

Address: lolS Su dortield ct
Su aacland TH. 77446
Telephone: | a- all 5- 7 HD
Case 4:21-cv-01858 Document1 Filed on 06/08/21 in TXSD Page 4 of 8

 

 

 

 

 

 

 

 

 

 

 

EEQE Form § (31/09) ere —_——
AMENDED CHARGE OF DISCRIMINATION Charge Presented To: yoy. ¥ 8s) Charge
This form is affected by the Privacy Act of 1974, See enclosed Privacy Act j } FEPA
Statement and other Infermation before completing this form, —
[x | Eeoc 460-2019-06590
TEXAS WORKFORCE COMMISSION CIVIL RIGHTS DIVISION and EEOC
State of Jocal Agency, Hany _
Name (indicate Mr., Ms., Mrs.) : | Home Phone ‘Year of Birth
MR. DORIAN V HALE . (312) 975-7112
Street Address City, State and ZIP Code

1015 SUGARFIELD CT, SUGAR LAND,TX 77498

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That i Believe f Piscriminated Against Me or Others. (/f more than two, dst under PARTICULARS below.)

 

 

 

 

/Name No. Employees, Members | ss Phone No,
WAL-MART STORES, INC. 501+ (281) 403-5000
‘Street A Address - / ‘City, State and ZIP Code —- Bn

WAL-MART STORES TEXAS, LLC, 5501 HWY 6, MISSOURI CITY, TX 77459

 

 

 

 

 

Name No, Employees, Members Phone No.

Street Address City, State and ZIP Code

DISCRIMINATION BASED ON (Check appropriate box(es).) | DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

RACE [] COLOR im SEX Ea [xX] reucion [ | wenonaoncw | 06-30-2017 04-20-2020

RETALIATION ase [X | osavnsry [| GENETIC INFORMATION

OTHER (Specify) {| CONTINUING ACTION

 

 

THE PARTICULARS ARE (if additional paper is needed, attech extra shest(s}}:
This charge is amended to include my termination from employment that occurred on April
20, 2020,

1, began my employment in june 2017 as a Tire & Lube Associate in the automotive
department. | was supervised by Service Manager, Allen McDonald (Biack). During my
tenure under Mr. McDonald, | was subjected to racial harassment, religious harassment, and
was regarded as disabled. Mr. McDonald made racial comments that were witnessed by
several other associates including but not limited to: You one of them rag heads? You see
these city niggers, yall dont know anything about automotive, | dont like city niggas, They
dont like Chicago niggas.

il, | reported harassment and difference in treatment discrimination to the Associate
Manager, Mr. Khan, who did nothing but defend Mr. McDonalds actions and behaviors stating
that McDonald was just joking. | was disciplined for allegedly disrespecting McDonald

 

 

 

! want this charge filed with bath the EEOC and the State or local Agency, | NOTARY - When necessary for State and Local Agency Requirements
if any, | will advise the agencies if | change my address or phone number
and | wil! cooperate fully with them in the precessing of my charge in

 

 

 

accordance with their procedures, | swear or affirm that | have read the above charge and that it
1 declare under penalty of perjury that the above js true and correct, { is true to the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

Digitally signed by Dorian aot on 09-25-2020 10:12 | supscriBeD AND SWORN TO BEFORE ME THIS DATE
AM (month, day, year)

 

 

 
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BEOE Ferm 5 (11/69)

 

AMENDED CHARGE OF DISCRIMINATION | Charge Presented To, gr ncvlles) Charge

This form is effected by the Privacy Act of 1974, See enclosed Privacy Act
Statement and other information before completing this form.

460-2019-06590

 

 

 

TEXAS WORKFORCE COMMISSION Cr iL RIGHTS DIVISION and EEOC
State of local Agency, if ai 7 ——

 

 

 

although | was not aware of the disciplinary coaching until 7 months later. Due to me
reporting disciplinary actions to members of management, 1 was then regarded as disabled
by the Store Manager, Zacardi Morris. Mr. Morris became aware that | was 3 MMA fighter
and stated that 1! must have had surgeries due to my former profession. | agreed, however, |
did not have any disabilities and | had no restrictions. Mr. Morris insisted | obtain a doctors
note and moved me to the electronics department because | was a liability. | contested the
medical order | was being given and the transfer, but 1 was still moved departments.

ili. On or about May 2018, on my first day working in the electronics department, | was called
into the office on three different occasions by Mr. Morris. | was being targeted and nitpicked
for small things such as stocking. it became apparent ! was being targeted as witnesses
noticed the harassment I was being subjected to and advised me not to take that kind of
behavior. ! was being locked out when taking breaks. This became excessive as today, |

have collected over 50 register lock out slips. 1 was not given my proper breaks or allowed
to take my breaks in a timely manner. | filed several complaints through management and
the ethics line but no action was taken. The only time Waimart was in my favor was when |
called after | was terminated for alleged gross misconduct. | was reinstated within 2 days.

IV, Very recently, the new Store Manager, Gabriel (Hispanic), made the following statement,
Sir, 1 dont know what religion you are but you need to close that ladder, It is important to
note that | wear a head turban which caused several negative statements being made to my
character and religion.

v, i continued to be targeted and set up by several members of management. in Bugust
This accusation was not supported and untrue, but the hostility and belittlement i ‘went
through was demeaning to my persen. On September 5, 2019, J was once again accused of
stealing two Samsung televisions. This was again proven to be untrue. Karen interrogated
me on the floor which is against company policy. Management was fishing for things to
accuse me of in relation to theft.

vi. On April 20, 2020, | was terminated from my employment unjustly. This was in retaliation
to the Ethics case | opened and the filing of the EEOC Charge of Discrimination.

Vil. | believe | was discriminated against because of my race (Black), religion (Muslim), and

subjected to retaliation, in violation of Title Vil of the Civil Rights Act of 1964, as amended,

and | believe | was regarded as disabled in violation of the Americans with Disabilities Act
(ADA) of 1990, as amended.

 

| want this charge filed with both the EEOC and the Stete or local Agency, | NOTARY - When necessary for State and Local Agency Requirements
if any. } will advise the agencies if | change my address or phone number
and | will cooperate fully with them in the processing of my charge in

 

 

accordance with thelr procedures, ‘| swear or affirm that | have read the above charge and that it

 

 

| declare under penalty of perjury that the above is true and correct. { is true te the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

Digitally signed by Dorian Hale on 09-15-2020 10:12 | supscRIBED AND SWORN TO BEFORE ME THIS DATE
AM EDT (month, day, year)

 

 

 
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EEOC Form 161 (11/2020) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

 

 

To: Dorian V. Hale : . _ _ From: Houston District Office

1015 Sugarfieid Ct oo Mickey Leland Building

Sugar Land, TX 77498 1919 Smith Street, 7th Floor

Houston, TX 77002
. aioe “On ‘behair of person(sjaggrievad witose identity ig: ~~" --—- ne oe rk -
CONFIDENTIAL (29 CFR §1601:7(a)) .
EEOC Charge No. EEOC Representative , Telephone No... ©
Patricia Palacios Ware,

460-2019-06590 Investigator (346) 327-7681

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC...

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

: Cl The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
discrimination to file your charge

The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
determination about whether further investigation would establish violations of the statute. This does not mean the claims
have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
makes no finding as to the merits of any other issues that might be construed as 's having been raised by this charge.

HecEOS-has Adopted the. 2 findi

     

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title VN, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the-.only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the

alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On behalf of the Commission

oe Qusisdaii 3712112021

 

Enclosures(s) : oe , Rayfora’s. invin;~--.—.. (Date Issued)
. District Director a ee _.
ce: Lowell Keig, Director
Scott Foreman for TWC - CIVIL RIGHTS DIV.
WALMART STORES INC.
c/o Littler Mendelson, P.C 101 East 15th Street, Room 144-T

2301 McGee Street, Suite 800 Austin TX 78778-0001 _
Kansas City, MO 64108 -
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AO 398 (Rev. 01/09) Notice of a Lawsuit and Request to Waive Service of a Summons Appendix E

 

UNITED STATES DISTRICT COURT

 

 

for the
District of
Plaintiff
v. Civil Action No.
Defendant

NOTICE OF A LAWSUIT AND REQUEST TO WAIVE SERVICE OF A SUMMONS

To:

 

(Name of the defendant or - if the defendant is a corporation, partnership, or association - an officer or agent authorized to receive service)

Why are you getting this?

A lawsuit has been filed against you, or the entity you represent, in this court under the number shown above.
A copy of the complaint is attached.

This is not a summons, or an official notice from the court. It is a request that, to avoid expenses, you waive formal
service of a summons by signing and returning the enclosed waiver. To avoid these expenses, you must return the signed

waiver within days (give at least 30 days, or at least 60 days if the defendant is outside any judicial district of the United States)

from the date shown below, which is the date this notice was sent. Two copies of the waiver form are enclosed, along with
a stamped, self-addressed envelope or other prepaid means for returning one copy. You may keep the other copy.

What happens next?

If you return the signed waiver, I will file it with the court. The action will then proceed as if you had been served
on the date the waiver is filed, but no summons will be served on you and you will have 60 days from the date this notice
is sent (see the date below) to answer the complaint (or 90 days if this notice is sent to you outside any judicial district of
the United States).

If you do not return the signed waiver within the time indicated, I will arrange to have the summons and complaint
served on you. And I will ask the court to require you, or the entity you represent, to pay the expenses of making service.

Please read the enclosed statement about the duty to avoid unnecessary expenses.

I certify that this request is being sent to you on the date below.

Date:

 

Signature of the attorney or unrepresented party

 

Printed name

 

Address

 

E-mail address

 

Telephone number
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AQ 399 (01/09) Waiver of the Service af Summons Appendix F

 

UNITED STATES DISTRICT COURT

 

 

 

for the
District of
> )
Plaintiff }
Vv. ) Civil Action No.
)
Defendant }

WAIVER OF THE SERVICE OF SUMMONS

 

(Name of the plaintiff's attorney or unrepresented plaintiff)

Lhave received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity J represent, agree to save the expense of serving a summons and complaint in this case.

I understand that I, or the entity IJ represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

l also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:

 

Signature of the attorney or unrepresented party

 

 

Printed name of party waiving service of summons Printed name

 

Address

 

E-mail address

 

Telephone number

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons

and complaint, A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

 

oo “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court, By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
